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All PREMSSES CONSIDERED. ON This [6 day of Feb. 2024,

Bnd Respectfolly aobmithed by: Hkanetd Hh Pblete _ Rarhiner
Kennet H. Tibbetts.
Sespl Harp Cote. Cee.
PO. Rox 568.
Lexington. Orla. “72051

Ceerirs CATE OF SERVICE

TZ Kenneth, 4} Tibbetts, the undersigned| marlec person, hereby
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